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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARTIN M. MATUS, O.D.,                                  )
on behalf of plaintiff and                              )
the class members defined herein,                       )
                                                        )    19 C 1797
               Plaintiff,                               )
                                                        )    Judge Dow
               v.                                       )    Magistrate Judge Valdez
                                                        )
NORTH AMERICAN BANCARD, LLC,                            )
and JOHN DOES 1-10,                                     )
                                                        )
               Defendants.                              )

                PLAINTIFF’S UNOPPOSED MOTION TO EXTEND TIME

       Plaintiff Martin M. Matus, O.D. respectfully requests pursuant to Fed. R. Civ. P. 6(b) an

extension of time to file the motion for preliminary approval of the parties’ class action

settlement. In support thereof, plaintiff states:

       1.      Plaintiff and Defendant North American Bancard, LLC filed a notice of

settlement on February 5, 2021. (Dkt. No. 54)

       2.      On February 15, 2021, this Court entered an order directing the parties to notice

up the motion for settlement approval on March 26, 2021. (Dkt. No. 55)

       3.      The Parties have made significant progress on the settlement documents. Several

drafts of settlement documents have been exchanged and the Parties believe that they are close to

finalizing the settlement documents.

       4.      Accordingly, Plaintiff requests an extension of time from March 26, 2021 through

and including April 5, 2021 to file the motion for preliminary approval.




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       5.      Plaintiff does not request this extension for purposes of delay but rather to provide

the Parties additional time to finalize and execute the settlement documents. Good cause exists

to extend time as the Parties continue to work in good faith on the settlement.

       6.      Plaintiff has contacted Defendant in advance of filing this motion and Defendant

does not oppose the relief requested in this motion.

       WHEREFORE, Plaintiff requests an extension of time from March 26, 2021 through and

including April 5, 2021 to file the motion for preliminary approval.

                                             Respectfully submitted,

                                             s/ Heather Kolbus
                                             Heather Kolbus

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Cathleen M. Combs
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                                CERTIFICATE OF SERVICE

        I, Heather Kolbus, certify that on March 24, 2021, I caused a true and accurate copy of
the foregoing document to be filed via the court’s CM/ECF system which caused notice via
email to be sent to the following parties:

       Lawren Zann – lawren.zann@gmlaw.com
       Beth-Ann E. Krimsky – beth-ann.krimsky@gmlaw.com
       Greenspoon Marder LLP
       200 East Broward Blvd., Suite 1800
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       Timothy A. Hudson – thudson@tdrlawfirm.com
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       209 South LaSalle Street, 7th Floor
       Chicago, IL 60604
                                                    s/ Heather Kolbus
                                                    Heather Kolbus

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